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May 23, 2024

Patricia S. Dodszuweit
Clerk of Court
U.S. Court of Appeals for the Third Circuit
21400 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106

RE: Public Interest Legal Foundation v. Schmidt, Nos. 23-1590, 23-1591, 23-3045

Dear Ms. Dodszuweit:

      I will be presenting oral argument on behalf of Plaintiff-Appellee/Cross-
Appellant Public Interest Legal Foundation in these matters, which are fully
briefed. I write to respectfully request that oral argument not be scheduled during
the week of August 5, 2024, due to a conflict with a scheduled vacation.

      Thank you for considering this request.


                                  Sincerely,

                                  /s/ Noel H. Johnson
                                  Noel H. Johnson
                                  Counsel for Public Interest Legal Foundation




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